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15
                                                     Attorney for Christian Larsen
16

17                               UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20   In re RIPPLE LABS INC. LITIGATION,                     DISCOVERY MATTER
21                                                          Case No. 18-cv-06753-PJH
22   This Document Relates To:                              STIPULATION AND [PROPOSED]
     ALL ACTIONS                                            ORDER TO EXTEND TIME OF
23                                                          MOTION FOR RELIEF FOR
                                                            CHRISTIAN LARSEN
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       STIPULATED [PROPOSED] ORDER TO EXTEND TIME TO OBJECT TO THIRD PARTY DISCOVERY
                                   CASE NO. 18-cv-06753-PJH
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            Pursuant to Civ. L.R. 6-2, Lead Plaintiff Bradley Sostack (“Plaintiff”), Defendants Ripple
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2    Labs Inc, XRP II, LLC, and Bradley Garlinghouse (collectively, “Defendants”), and Christian

3    Larsen hereby stipulate as follows:

4           WHEREAS, on April 28, 2022, the Court ordered that Defendants produce all documents
5    and written discovery produced in Securities and Exchange Commission v. Ripple Labs, Inc., 20
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     Civ. 10832 (AT), S.D.N.Y) (the “SEC Action”) and that Plaintiff must provide notice to all
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     relevant third parties who have not previously consented to production within seven days of the
8
     Order (the “April 28, 2022 Order”);
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10          WHEREAS, in the April 28, 2022 Order, the Court also ordered that any third party who

11   does not consent to production must notify both Plaintiff and Defendants of their intent to object

12   within fourteen days of receipt of the notice and must file any motion for relief within twenty-one
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     days of receipt of such notice;
14
            WHEREAS, on May 4, 2022, Plaintiff provided notice of the April 28, 2022 Order to Mr.
15
     Larsen, a third party in this matter and a defendant in the SEC Action;
16
            WHEREAS, Mr. Larsen timely notified Plaintiff and Defendants of his intent to object to
17

18   production by May 18, 2022, and any motion for relief is due on May 25, 2022;

19          WHEREAS, Plaintiff and Mr. Larsen are in the process of meeting and conferring about
20   the documents that Mr. Larsen will produce to Plaintiff pursuant to the April 28, 2022 Order;
21
            WHEREAS, the parties request to extend the May 25, 2022 deadline for Mr. Larsen to
22
     seek relief from the Court to allow the parties to continue to meet and confer productively; and
23
            WHEREAS, granting this extension is not expected to affect the schedule for the matter.
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25          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between Lead Plaintiff,

26   Defendants, and Mr. Larsen, through their respective counsel, that:

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       STIPULATED [PROPOSED] ORDER TO EXTEND TIME TO OBJECT TO THIRD PARTY DISCOVERY
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           1. Mr. Larsen’s deadline to move the Court for relief from its April 28, 2022 Order is
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2              extended until June 24, 2022.

3    Dated: May 23, 2022                        By:    /s/ Nicholas N. Spear
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19                                              Attorneys for Lead Plaintiff Bradley Sostack

20
     Dated: May 23, 2022                        By:    /s/ Suzanne Nero
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7                                         XRP II, LLC, and Bradley Garlinghouse
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     Dated: May 23, 2022                  By:    /s/ Meredith Dearborn
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                                [PROPOSED] ORDER
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2             PURSUANT TO STIPULATION, IT IS SO ORDERED.

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4    Dated:
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       STIPULATED [PROPOSED] ORDER TO EXTEND TIME TO OBJECT TO THIRD PARTY DISCOVERY
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                                             ATTESTATION
1
            Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the
2
     filing of this document has been obtained from the other signatories.
3
     DATED: May 23, 2022.                         /s/ Nicholas N. Spear
4                                                 Nicholas N. Spear
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       STIPULATED [PROPOSED] ORDER TO EXTEND TIME TO OBJECT TO THIRD PARTY DISCOVERY
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